      Case 4:20-cv-03261 Document 10 Filed on 12/01/20 in TXSD Page 1 of 1
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                        IN THE UNITED STATES DISTRICT COURT                        December 02, 2020
                        FOR THE SOUTHERN DISTRICT OF TEXAS                          David J. Bradley, Clerk
                                 HOUSTON DIVISION

ROBERT VANDERPLOEG,                          )
                                             )
                              Plaintiff,     )
                                             )      CIVIL ACTION
vs.                                          )
                                             )      Case No. 4:20-CV-03261
SAMANTHA MARKETPLACE LLC,                    )
                                             )
                              Defendant.     )


                                   ORDER OF DISMISSAL

       In accordance with the Joint Stipulation of Dismissal with Prejudice filed November 24,

2020 (Doc. 9), it is hereby ORDERED that this action be dismissed with prejudice, pursuant to

Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

       It is so ORDERED on December 1, 2020.



                                                    __________________________________
                                                    KEITH P. ELLISON
                                                    UNITED STATES DISTRICT JUDGE
